                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


    MARGARET CZERWIENSKI,
    LILIA KILBURN, and AMULYA
    MANDAVA

           Plaintiffs,
                                                          Case No. 1:22-cv-10202-JGD
    v.

    HARVARD UNIVERSITY AND THE
    PRESIDENT AND FELLOWS OF
    HARVARD COLLEGE

           Defendants.

         DEFENDANT’S ASSENTED-TO MOTION TO AMEND SCHEDULING ORDER

          Defendant President and Fellows of Harvard College (“Harvard”),1 with the assent of

counsel for the Plaintiffs, respectfully moves this Court to amend the scheduling order in this

case to permit Harvard one additional week, through and including July 19, 2022, to file a

response to Plaintiffs’ Amended Complaint, and to permit Plaintiffs until August 23, 2022, to file

any opposition.

          In support hereof, Harvard states:

          1.      Plaintiffs filed the initial Complaint in this matter on February 8, 2022. Dkt. No.

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          2.      On May 31, 2022, Harvard filed a Motion to Dismiss Count One Through Nine of

the Complaint, and a Motion for Summary Judgment on Count Ten of the Complaint. Dkt. Nos.

19, 20, 24, 25.

          3.      On June 21, 2022, Plaintiffs filed an Amended Complaint. Dkt. No. 35.


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  Harvard University is not a proper Defendant in this action, as it is not a corporate entity
independent of President and Fellows of Harvard College.
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        4.       Plaintiffs’ Amended Complaint is 89 pages long, contains 337 numbered

paragraphs, and sets forth many novel factual allegations and changes from Plaintiffs’ original

Complaint.

        5.       Harvard’s response to the Amended Complaint is currently due on July 12, 2022.

Dkt. No. 34.

        6.       Defendant submits that a one-week extension of time will enable it to adequately

analyze and respond to the Amended Complaint, and to set before the Court the relevant legal

issues for resolution.

        7.       The undersigned has conferred with counsel for the Plaintiffs concerning the

relief sought herein and Plaintiffs’ counsel has indicated that Plaintiffs agree to the extension,

provided that the scheduling order is amended to permit them until August 23, 2022 to file any

opposition.

        8.       In addition, because Plaintiffs have altered Count Ten of their Complaint, Harvard

plans to file an amended memorandum in support of its Motion for Summary Judgment at the

same time that it files its Motion to Dismiss.

        9.       Accordingly, the parties agree that Plaintiffs need not file a response to the

currently-pending Motion for Summary Judgment until August 23, 2022.

        10.       There is good cause to grant an extension of time because it is not sought for the

purposes of delay, nor, if granted, will it result in prejudice to any of the parties.

        WHEREFORE, Harvard respectfully requests that this Court grant this Motion and

amend the scheduling order so that the relevant pleading deadlines are:

              a. Harvard may file its responsive pleadings on or before July 19, 2022; and




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          b. Plaintiffs may file their opposition to those pleadings on or before August 23,

              2022.



                                                   Respectfully submitted,

                                                   PRESIDENT AND FELLOWS OF
                                                   HARVARD COLLEGE,

                                                   By its attorneys,

                                                   /s/ Victoria L. Steinberg
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                                                   Attorneys for Defendants,
                                                   Harvard University and President and
                                                   Fellows of Harvard College


Dated: July 6, 2022




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                              LOCAL RULE 7.1 CERTIFICATION
       I hereby certify that, pursuant to Local Rule 7.1(a)(2), I conferred with counsel for Plaintiffs
on July 6, 2022. Plaintiffs counsel indicated that Plaintiffs assent to the relief requested herein, but
do not waive any procedural or substantive objection to any pleading by Harvard.


                                                      /s/ Victoria Steinberg
                                                      Victoria Steinberg




                                 CERTIFICATE OF SERVICE
        I, Victoria Steinberg, hereby certify that a copy of the foregoing was sent via the Court’s
electronic filing system and served to all counsel of record on July 6, 2022.


                                                      /s/ Victoria Steinberg
                                                      Victoria Steinberg




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